   Case 21-12977-mdc         Doc 45      Filed 05/18/22 Entered 05/18/22 11:49:37               Desc Notice
                                         of Hearing Page 1 of 1


                    UNITED STATES BANKRUPTCY COURT
                   EASTERN DISTRICT OF PENNSYLVANIA

In Re: Thomas F. McMonagle, III
         Debtor(s)                                  Case No: 21−12977−mdc
                                                    Chapter: 13


                             NOTICE OF HEARING

                         To the debtor, the debtor's counsel, and any party in interest:

                   NOTICE is hereby given that a hearing will be held before the Honorable
                    Magdeline D. Coleman , United States Bankruptcy Judge to consider:

                      TRIAL Motion for Relief from Stay . Filed by Prudential Bank
                      Represented by MICHAEL D. VAGNONI

                              on: 7/19/22

                              at: 01:00 PM
                              in: Courtroom #2, 900 Market Street, Philadelphia, PA
                              19107

                                                                                For The Court
Date: 5/18/22                                                                   Timothy B. McGrath
                                                                                Clerk of Court




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                                                                                                         Form 167
